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     M61VSHET

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,                     New York, N.Y.

4                v.                                20 Cr. 412 (AT)

5    TIMOTHY SHEA,

6                     Defendant.                   Trial

7    ------------------------------x

8                                                  June 1, 2022
                                                   5:00 p.m.
9

10   Before:

11                            HON. ANALISA TORRES,

12                                                 District Judge
                                                     and a Jury
13

14
                                   APPEARANCES
15
     DAMIAN WILLIAMS
16        United States Attorney for the
          Southern District of New York
17   BY: ALISON G. MOE
          NICOLAS T. ROOS
18        ROBERT B. SOBELMAN
          Assistant United States Attorneys
19
     MERINGOLO & ASSOCIATES P.C.
20        Attorneys for Defendant
     BY: JOHN C. MERINGOLO
21        ANGELICA B. CAPPELLINO
          CLARA S. KALHOUS
22

23   Also Present:    Sunny Drescher, Paralegal Specialist, USAO

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1              (Trial resumed; jury not present)

2              THE COURT:    Please be seated.     Good afternoon.

3              I have not received any notes from the jurors, but

4    it's time to excuse them, and so I'm asking that they be

5    brought in.

6              (Jury present)

7              THE COURT:    Do the parties agree that the jurors are

8    all present and properly seated?

9              MR. ROOS:    Yes, your Honor.

10             MR. MERINGOLO:     Yes, your Honor.

11             THE COURT:    Please be seated.

12             Good afternoon, jurors.      I want to thank you for

13   getting here on time in the morning and for working so hard all

14   day long.

15             Our day has come to an end, and so you will stop

16   deliberating and return tomorrow morning at 9, as you did

17   today, to recommence.     Of course, you're not allowed to discuss

18   the case amongst yourselves or with anyone else, now that the

19   day is over.    And you're not to let anyone discuss the case in

20   your presence.    Only when Juror No. 1 says tomorrow morning

21   that deliberations are commencing, can you then start talking

22   about the case again.

23             And so have a good evening and return promptly

24   tomorrow so that you can start at 9.        Thank you.

25             (Jury not present)


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1              THE COURT:    Please be seated.

2              Our wonderful court reporter has brought to my

3    attention that other judges in the district have been sending

4    back a transcript if the jurors request a readback.           I was

5    raised in the old-school method where you have no readbacks in

6    any other place other than in the courtroom.         And so I just

7    wanted to see if the parties had any feelings about that.             You

8    can think about it overnight, if you like.         Obviously if you

9    did want to send back a transcript, should it be requested, I

10   would, of course, see that you put in any appropriate

11   redactions.

12             MR. ROOS:    Your Honor, I think you're right, that

13   judges in this district have different practices.          I don't

14   think there's been a request yet for a transcript, so we'll

15   chat it over and, if there is a request, we'll let your Honor

16   know our position.

17             THE COURT:    Okay.   All righty.

18             So you'll make yourselves available tomorrow.

19             And I hope you have a good evening.

20             (Adjourned to June 2, 2022 at 9 o'clock a.m.)

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